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                    Exhibit D
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From:                 Yonatan Even
Sent:                 Tuesday, September 8, 2020 2:24 PM
To:                   rdoren@gibsondunn.com; jsrinivasan@gibsondunn.com
Cc:                   Christine Varney; Katherine Forrest; Gary Bornstein; Brent Byars; John Karin
Subject:              Epic v. Apple / Sign in with Apple


Richard and Jay,

As you know, prior to Apple’s termination of Epic’s ‘84 Apple developer account on August 28, Epic expressed concern
that third parties who use the Sign in with Apple service to access their Epic accounts would lose that access as a result
of that termination, contrary to the Temporary Restraining Order. Third parties that are affected by this issue include
Unreal Engine users, as well as third‐party game developers who use Epic services and their customers.

In Mr. Doren’s letter of August 28, 2020, Apple indicated that these third parties would retain access to Sign in with
Apple for two weeks from that date, demonstrating that loss of access to the Sign in with Apple service was not a
necessary consequence of the termination of the ‘84 developer account, but rather Apple’s choice. You suggested in
that letter that Apple engineers would assist Epic in finding a solution that would ensure that Sign in with Apple users
would not lose access to their Epic accounts after the two‐week period.

Six days later, on the afternoon (ET) of Thursday, September 3, Apple responded, clarifying that its engineers will not
work with Epic to solve the issue in a way that would be transparent to users, and suggesting instead that Epic “build a
custom flow to migrate users off Sign In with Apple by collecting email addresses or asking users to select a different
login method” – in other words, that Epic reach out to hundreds of thousands of users currently using SiwA and prompt
them to take action to replace SiwA with an alternative mechanism.

Apple’s response is both contrary to Mr. Doren’s representations and unsatisfactory. Nonetheless, to avoid the need to
involve the Court, Epic has been working diligently to prepare a mass email to the affected users, with instructions that,
if followed, should resolve this issue for most (though likely not all) users. However, given the change in Apple’s position
and the time it has taken Apple to respond to Epic’s outreach, any email Epic will send users will now be very close to
the deadline Apple has arbitrarily chosen to turn off SiwA. Users deserve more time to implement the necessary steps
to ensure continued access to their accounts.

Epic will send out an email to users tonight or tomorrow. In the meantime, and in order to provide users with the
correct instructions, please confirm by 5pm PST today that Apple will not take any steps that impair the Sign in with
Apple service used by third‐parties who rely on Epic services until after the Court resolves Epic’s pending motion for a
preliminary injunction.

Epic reserves all rights.

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